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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

BLUE SPIKE, LLC,                       )
                                       )
                     Plaintiff,        )
                                       )
              v.                       ) C.A. No. 17-928 (LPS)
                                       )
ROKU, INC.,                            )
                                       )
                     Defendant.        )


      OPENING BRIEF IN SUPPORT OF DEFENDANT ROKU, INC.’S MOTION
           FOR JUDGMENT ON THE PLEADINGS UNDER RULE 12(c)
              OF THE FEDERAL RULES OF CIVIL PROCEDURE


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I.       NATURE AND STAGE OF THE PROCEEDING

         Defendant Roku Inc. (“Roku”) moves for judgment on the pleadings pursuant to Federal

Rule of Civil Procedure 12(c), to dismiss each and every claim of Plaintiff Blue Spike, LLC’s

(“Blue Spike”) Complaint for failure to state a claim upon which relief can be granted. Blue

Spike’s Complaint broadly accuses Roku of direct infringement, induced infringement,

contributory infringement, and willful infringement of five U.S. Patents.1 As detailed below,

Blue Spike’s conclusory and incomplete allegations of infringement fall far short of the pleading

standard set forth in Federal Rule of Civil Procedure 8, as construed by the U.S. Supreme Court

in Ashcroft v. Iqbal, 556 U.S. 662 (2009) and Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007),

and should be dismissed.

II.      SUMMARY OF THE ARGUMENT

         The heightened pleading standards of Twombly and Iqbal require more than conclusory

statements and threadbare recitals of the elements of a cause of action. However, Blue Spike’s

allegations fail to do even that. In particular, Blue Spike fails to allege that the Accused Products

infringe each element of the asserted claims, and the allegations it does make are conclusory

statements that merely parrot the claim language. Accordingly, Blue Spike’s Complaint should

be dismissed because its barebones contentions do not plausibly allege direct patent

infringement, induced patent infringement, contributory patent infringement, or willful patent

infringement.




1
  U.S. Patent Nos. 7,475,246 (“the ’246 patent”), 8,171,561 (“the ’561 patent”), 8,739,295 (“the
’295 patent”) (collectively, “the Secure Server patents”) and U.S. Patent Nos. 7,159,116 (“the
’116 patent”), 8,538,011 (“the ’011 patent”) (collectively, “the Steganographic Cipher patents”)
(together, “the Asserted Patents”).
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         Regarding direct infringement, for the Secure Server patents, the Complaint broadly

contends that the “Accused products allow playback, upon request and proper authorization, of

[both] secured [and unsecured] content via Netflix, HBO Go, Pandora, Spotify, and other

streaming services.” (D.I. 1, ¶¶ 24, 33, 42). The Complaint then merely parrots some, but not all,

of the claim limitations without any elaboration or explanation. In doing so, the Complaint fails

to identify any rationale for how or why allowing playback from a streaming service “upon

request and proper authorization” could plausibly directly infringe any claims of the Secure

Server patents.    Similarly, for the Steganographic Cipher patents, the Complaint broadly

contends that the “Accused Products allow playback of Netflix, Hulu+, HBO Go, Pandora,

Spotify, and other streaming services” and “[o]n information and belief, Netflix and Hulu+ use a

digital rights management system called PlayReady—among others—which is a method for

authenticating the transmission of information between two entities by using unique device IDs

and cryptographic keys.” (D.I. 1, ¶¶ 51, 60). The Complaint then merely parrots some, but not

all, of the claim limitations without any elaboration or explanation. Accordingly, the Complaint

fails to identify any rationale for how or why playback from Netflix or Hulu+ (that allegedly use

a method for authenticating the transmission of information between two entities by using unique

device IDs and cryptographic keys) could plausibly directly infringe the asserted claims of the

Steganographic Cipher patents, or why playback from any other streaming service would

allegedly infringe. 2   Such threadbare allegations fall far below the heightened pleadings

standards of Twombly and Iqbal.



2
  Blue Spike has indicated in other proceedings that it relies on discovery, rather than pre-suit
investigation, to attempt to form plausible infringement allegations. See Blue Spike v. Adobe,
4:14-cv-01647-YGR (N.D. Cal.) (D.I. 42 at 19:10-21) (Case Management Conf. Tr.) (Ex. 1)
(“THE COURT: You want their source code so you can tell them what the problem is. MR.
GARTEISER: No, your honor. We want the source code to see if there’s an issue at all and


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         Regarding induced and contributory infringement, Blue Spike’s allegations are also

insufficient because they only offer formulaic recitations paraphrasing 35 U.S.C. § 271 without

meaningful or sufficient factual support and conclusory allegations of Roku’s knowledge.

         Regarding willful infringement, the Complaint merely alleges that Roku had knowledge

of the asserted patents from Blue Spike’s filing of its Eastern District of Texas complaint and

“[i]n the course of its due diligence and freedom to operate analyses.” (D.I. 1, ¶¶ 28, 37, 46, 55).

Such allegations do not plausibly set forth facts of an “egregious” case sufficient to plead willful

infringement.

         Accordingly, the Complaint has failed to sufficiently state a claim of direct, induced,

contributory, and willful infringement, and should be dismissed.

III.     STATEMENT OF FACTS

         Blue Spike is a non-practicing entity that has engaged in a voluminous litigation

campaign, filing over 100 lawsuits for patent infringement since 2012.3 See Ex. 2. Blue Spike

filed a complaint against Roku on February 17, 2017 in the Eastern District of Texas, alleging

direct infringement, induced infringement, contributory infringement, and willful infringement of

“one or more claims” of seven U.S. patents.4 Blue Spike, LLC v. Roku Inc., No. 6-17-cv-00100

(E.D. Tex. Feb. 17, 2017) (D.I. 1). On May 12, 2017, Blue Spike filed an amended complaint to

remove infringement allegations for two of the seven patents (the ’569 and ’713 patents). Id.


whether we spend a lot of litigation money. We are not asking anyone to pull emails at this
stage. We just want to see if what we think they do, based on information and belief, and what
they tell customers, then that’s what we want to do. Otherwise, we are not even sure how you
would get around that issue. We will serve our infringement contentions. This is more when
they come back and try to strike them, or move to compel. I’m just bringing it up as an issue.”)
3
    The median case length for Blue Spike’s cases is only 130 days (~4 months). Ex. 2 at 7.
4
  Blue Spike asserted the same five patents asserted in this case as well as U.S. 5,745,569 (“the
’569 patent”) and U.S. 8,930,713 (“the ’719 patent”).


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(D.I. 13). On May 26, 2017, Roku filed a motion to dismiss for improper venue. Id. (D.I. 14).

On July 5, 2017, Roku’s motion to dismiss was granted, dismissing Blue Spike’s claims “without

prejudice to their refiling in a District in which venue is proper.” Id. (D.I. 17).

       On July 11, 2017, Blue Spike filed its Complaint in this action, alleging direct

infringement, induced infringement, contributory infringement, and willful infringement of “one

or more claims” of the five Asserted Patents by the “Accused Products” (defined as, “including

but not limited to, [Roku’s] Roku, Roku Express, Roku Express+, Roku Premiere, Roku

Premiere+, Roku Ultra, and Roku TV products”). (D.I. 1, ¶¶ 15, 22-28, 31-37, 40-46, 49-54, 58-

64). Roku filed an Answer on August 21, 2017. (D.I. 8). On July 11, 2017 (the same day it

filed this action), Blue Spike also filed a Motion for Transfer of Actions to the Eastern District of

Texas Pursuant to 26 U.S.C. § 1407 for Coordinated and/or Consolidated Pretrial Procedures

before the U.S. Judicial Panel on Multidistrict Litigation, listing 14 actions that it sought to

transfer and consolidate. (D.I. 5); In re: Blue Spike, LLC, Patent Litigation, MDL No. 2794. On

October 4, 2017, the Judicial Panel on Multidistrict Litigation denied Blue Spike’s motion.

(D.I. 11). Pursuant to this Court’s December 27, 2017 oral order, a Scheduling Conference is

scheduled for February 12, 2018.

       Other pertinent facts are set forth in the Argument sections, as appropriate.

IV.    ARGUMENT

       A.      Legal Standard

       “A motion for judgment on the pleadings pursuant to Federal Rule of Civil Procedure

12(c), alleging a failure to state a claim upon which relief can be granted, is analyzed under the

same standard as a Rule 12(b)(6) motion to dismiss.” Fairchild Semiconductor Corp. v. Power

Integrations, Inc., 100 F. Supp. 3d 357, 360 (D. Del. 2015) (citing Turbe v. Gov't of Virgin




                                                  4
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Islands, 938 F.2d 427, 428 (3d Cir.1991), reargument denied, C.A. No. 12-540-LPS, 2015 WL

1883960 (D. Del. Apr. 24, 2015).

       It is well-settled that claims of direct patent infringement are subject to the heightened

pleading requirements of Twombly and Iqbal. See Modern Telecom Sys., LLC v. TCL Corp., C.A.

No. 17-583-LPS-CJB, 2017 WL 6524526, at *2 (D. Del. Dec. 21, 2017); see also Raindance

Techs., Inc. v. 10x Genomics, Inc., C.A. No. 15-152-RGA, 2016 WL 927143, at *2 (D. Del. Mar.

4, 2016). Under this standard, the court first separates the factual and legal elements of a claim,

accepting “all of the complaint’s well-pleaded facts as true, but [disregarding] any legal

conclusions.” Fowler v. UPMC Shadyside, 578 F.3d 203, 210-11 (3d Cir. 2009)). The court then

determines “whether the facts alleged in the complaint are sufficient to show that the plaintiff has

a ‘plausible claim for relief.’” Id. at 211 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)).

       To be plausible, a claim “must do more than simply provide ‘labels and conclusions’ or

‘a formulaic recitation of the elements of a cause of action.’” Davis v. Abington Mem'l Hosp.,

765 F.3d 236, 241 (3d Cir. 2014) (quoting Twombly, 550 U.S. at 555). A complaint that “simply

parrot[s] back the words of the claim and stating (without more)” that an Accused Product

infringes that claim “is not helpful.” See Modern Telecom, 2017 WL 6524526, at *3; Raindance

Techs., Inc., 2016 WL 927143, at *2-3; e.Ditigal Corp. v. iBaby Labs, Inc. Case No. 15-cv-

05790-JST, 2016 WL 4427209, at *3-4 (N.D. Cal. Aug. 22, 2016); see also Macronix Int'l Co. v.

Spansion Inc., 4 F. Supp. 3d 797, 804 (E.D. Va. 2014) (holding that a complaint that does not

contain specific factual allegations but instead “simply alleges that each element of a cited claim

is infringed and then parrot[s] the claim language for each element... [] simply does not satisfy

the notice and showing requirements of Rule 8(a).”). In other words, a plausible claim must

demonstrate the basis for its entitlement to relief “with its facts[.]” See Fowler, 578 F.3d at 210.




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       In alleging direct infringement, a Plaintiff must plausibly plead facts that indicate an

accused product practices each of the limitations found in an asserted claim. See Modern

Telecom, 2017 WL 6524526, at *3; Valinge Innovation AB v. Halstead New England Corp.,

C.A. No. 16-1082, 2017 WL 5196379, *1 (D. Del. Nov. 9, 2017) (“An adequately pleaded claim

for direct infringement of a method claim requires allegations that the alleged infringer

‘perform[ed] all the steps of the claimed method, either personally or through another acting

under his direction or control.’”); Raindance, 2016 WL 927143, at *2-3 (dismissing plaintiff's

patent complaint where the claims recited limitations related to “pressure” that the complaint did

not address). After all, “factual allegations that do not permit a court to infer that the accused

product infringes each element of at least one claim are not suggestive of infringement—they are

merely compatible with infringement.” Raindance, 2016 WL 927143, at *3, n.5. Allegations

that merely demonstrate compatibility with infringement do not cross the threshold from a

speculative claim of relief to a plausible claim of relief, and therefore do not pass muster under

Twombly and Iqbal. See id.

       B.      Blue Spike’s Incomplete and Conclusory Allegations of Direct Infringement
               Fail to Meet the Heightened Pleading Standards of Twombly and Iqbal

              1. Blue Spike Fails to Allege that the Accused Products Perform Each Limitation
                 of Each of the Asserted Claims of the Secure Server Patents (Counts 1-3)

       Blue Spike does not plead facts sufficient to state a claim for direct infringement of the

Secure Server patents, as the Complaint does not allege, nor does Roku perform, each of the

steps of the asserted claims. In particular, as detailed below, there are several claim limitations

for which Blue Spike provided no allegations, and for the others Blue Spike only provided

incomplete, conclusory allegations merely parroting the claim language.

       In Count 1, Blue Spike alleges the Accused Products infringe claim 17 of the ’246 patent

by providing only the following conclusory and incomplete allegation:


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       Defendant’s Accused Products allow playback, upon request and proper
       authorization, of secured content via Netflix, HBO Go, Pandora, Spotify, and
       other streaming services (digital content for a consumer; sending message;
       retrieving a copy of the requested content; transmitting the watermarked content
       data set; receiving the transmitted watermarked content data set into a Local
       Content Server (LCS) of the user; extracting at least one watermark; permitting
       use of the content data set if the LCS determines that it is authorized). See Exhibit
       H at p. 4 (“The PlayReady license server authenticates the client and issues a
       license back to the client”); see also Exhibits J & K.

D.I. 1, ¶ 24 (emphasis in original). As the following table illustrates, the Complaint contains no

allegations of infringement as to several limitations of claim 17:

Claim 17 of the ’246 Patent:                           Blue Spike’s Allegations:
A method for creating a secure environment             “digital content for a consumer”
for digital content for a consumer, comprising
the following steps:
sending a message indicating that a user is            “sending message”
requesting a copy of a content data set;

retrieving a copy of the requested content data        “retrieving a copy of the requested content”
set;
embedding at least one robust open watermark           No allegations that Accused Products
into the copy of the requested content data set,       perform this limitation.
said watermark indicating that the copy is
authenticated;
embedding a second watermark into the copy             No allegations that Accused Products
of the requested content data set, said second         perform this limitation.
watermark being created based upon
information transmitted by the requesting user;
transmitting the watermarked content data set          “transmitting the watermarked content data
to the requesting consumer via an electronic           set”
network;
receiving the transmitted watermarked content          “receiving the transmitted
data set into a Local Content Server (LCS) of          watermarked content data set into a Local
the user;                                              Content Server (LCS) of the user”


extracting at least one watermark from the             “extracting at least one watermark”
transmitted watermarked content data set;




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Claim 17 of the ’246 Patent:                              Blue Spike’s Allegations:
permitting use of the content data set if the             “permitting use of the content data set if the
LCS determines that use is authorized; and                LCS determines that it is authorized”

permitting use of the content data set at a               No allegations that Accused Products
predetermined quality level, said                         perform this limitation.
predetermined quality level having been set for
legacy content if the LCS determines that use
is not authorized.

        Similarly, in Count 2, Blue Spike alleges the Accused Products infringe claim 9 of the

’561 patent by providing only the following conclusory and incomplete allegation:

        Defendant’s Accused Products allow playback of both secured and unsecured
        content via Netflix, HBO Go, Pandora, Spotify, and other streaming services (a
        method for using a local content server with communications port, storage,
        domain processor, and unique ID; said LCS storing/receiving data sets/content;
        LCS inspecting data set for watermark and determining … unsecure, secure,
        legacy; wherein a quality level of legacy means that said first content does not
        include said watermark). See Exhibit H at p. 4 (“The PlayReady license server
        authenticates the client and issues a license back to the client”); see also Exhibits
        J & K.

D.I. 1, ¶ 33 (emphasis in original). As the following table illustrates, the Complaint contains no

allegations of infringement as to several limitations of claim 9:

Claim 9 of the ‘561 Patent                                Blue Spike’s Allegations
A method for using a local content server                 “a method for using a local content server with
(LCS), said LCS comprising an LCS                         communications port, storage, domain
communications port; an LCS storage unit for              processor, and unique ID”
storing digital data; an LCS domain processor
for processing digital data; and an LCS
identification code uniquely associated with
said LCS, said method comprising:
said LCS storing in said LCS storage unit a               “said LCS storing/receiving data sets/content”
plurality of rules for processing a data set;
said LCS receiving via said communications                “said LCS storing/receiving data sets/content”
port a first data set that includes data defining
first content;
said LCS using said domain processor to                   “LCS inspecting data set for watermark and
determine from inspection of said first data set          determining … unsecure, secure, legacy”
for a watermark, a first data set status value of
said first data set to be at least one of unsecure,
secure, and legacy;


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Claim 9 of the ‘561 Patent                                Blue Spike’s Allegations
said LCS using said first data set status value           No allegations that Accused Products
to determine which of a set of rules to apply to          perform this limitation.
process
said first data set prior to storage of a                 No allegations that Accused Products
processed second data set resulting from                  perform this limitation.
processing of said first data set, in said LCS
storage unit;
said LCS determining, at least in part, from              “LCS inspecting data set for watermark and
rights associated with a user identification              determining … unsecure, secure, legacy”
associated with a prompt received by said LCS
for said first content, a quality level at which to
transmit said first content, wherein said quality
level is one of at least unsecure, secure, and
legacy; and
wherein a quality level of legacy means that              “wherein a quality level of legacy means that
said first content does not include said                  said first content does not include said
watermark.                                                watermark”

        In addition, in Count 3, Blue Spike alleges the Accused Products infringe claim 13 of the

’295 patent by providing only the following conclusory and incomplete allegation:

        Defendant’s Accused Products allow playback of both secured and unsecured
        content via Netflix, HBO Go, Pandora, Spotify, and other streaming services (a
        method for using a local content server with communications port, storage,
        domain processor, and unique ID; said LCS storing/receiving data sets/content;
        excluding from said first LCS domain said first content when said LCS determines
        that said first content belongs to said different LCS domain; said LCS domain
        processor determining, from said first data set, a first data set status value of said
        first data set to be at least one of unsecure, secure, and legacy). See Exhibit H at
        p. 4 (“The PlayReady license server authenticates the client and issues a license
        back to the client”); see also Exhibits J & K.

D.I. 1, ¶ 42 (emphasis in original). As the following table illustrates, the Complaint contains no

allegations of infringement as to several limitations of claim 13:

Claim 13 of the ’295 Patent                               Blue Spike’s Allegations
A method for using a local content server                 “a method for using a local content server with
system (LCS), said LCS comprising an LCS                  communications port, storage, domain
communications port; an LCS storage unit for              processor, and unique ID”
storing digital data in non-transitory form; an
LCS domain processor that imposes a plurality
of rules and procedures for content being
transferred between said LCS and devices


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Claim 13 of the ’295 Patent                             Blue Spike’s Allegations
outside said LCS, thereby defining a first LCS
domain; and a programmable address module
programmed with an LCS identification code
uniquely associated with said LCS domain
processor; comprising:
storing, in said LCS storage unit, a plurality of       “said LCS storing/receiving data sets/content”
rules for processing a data set;
receiving, via said LCS communications port,            “said LCS storing/receiving data sets/content”
a first data set that includes data defining first
content;
said LCS determining whether said first                 No allegations that Accused Products
content belongs to a different LCS domain than          perform this limitation.
said first LCS domain;
said LCS excluding from said first LCS                  “excluding from said first LCS domain said
domain said first content when said LCS                 first content when said LCS determines that
determines that said first content belongs to           said first content belongs to said different LCS
said different LCS domain;                              domain”
said LCS domain processor determining, from             “said LCS domain processor determining, from
said first data set, a first data set status value of   said first data set, a first data set status value of
said first data set to be at least one of unsecure,     said first data set to be at least one of unsecure,
secure, and legacy;                                     secure, and legacy”
said LCS determining, using said first data set         No allegations that Accused Products
status value, which of a set of rules to apply to       perform this limitation.
process said first data set; and
said LCS determining, at least in part from             No allegations that Accused Products
rights associated with an identification                perform this limitation.
associated with a prompt received by said LCS
for said first content, a quality level at which to
transmit said first content, wherein said quality
level is one of at least unsecure, secure, and
legacy;
said LCS transmitting said first content at the         No allegations that Accused Products
determined quality level.                               perform this limitation.

        For the limitations it does address, Blue Spike’s Complaint simply parrots elements of the

asserted claims. This is insufficient. Blue Spike’s allegations fail to provide plausible facts as to

why it asserts that Roku’s products infringe each and every limitation of the asserted patents.

For example, Blue Spike was required to disclose its view as to why it asserts that the accused

Roku products infringe the “quality level” limitations in order to have a Rule 11 basis to bring

the infringement claims as to claim 17 of the ’246 patent, claim 9 of the ’561 patent, and claim


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13 of the ’295 patent.5 See North Star Innovations, Inc. v. Micron Tech., Inc., No. 17-506, 2017

WL 5501489 (D. Del. Nov. 16, 2017) (citing SIPCO, LLC. v. Streetline, Inc., 230 F. Supp. 3d

351, 353 (D. Del. 2017). As this Court has explained, Blue Spike “needs to pleads facts that say

something about what that view is—about what the accused product contains that meets these

claim limitations (and the others) and that helps the Court understand why it’s plausible that this

is so.” Id.

        Nor do Blue Spike’s citations to Exhibits H, J, and K support its infringement allegations.

These exhibits are not directed at Roku’s products or actions, but to third-party content providers

and digital rights management (DRM) providers.6 Furthermore, information relating to claim

limitations such as “watermarking,” “determining pre-determined quality levels,” “legacy

content,” and transmitting content at pre-determined quality levels are notably absent from these

exhibits.




5
  Blue Spike’s failure to include allegations and facts to support that the Accused Products meet
the “quality level” limitations is particularly problematic because, during prosecution at the
Patent Office, the Patent Examiner found this limitation important during the prosecution of the
Secure Server patents. For example, in the July 8, 2008 Statement of Reasons for Allowance for
the ’246 patent, the Examiner stated: “[n]owhere in the prior art is found, collectively, the
italicized claim elements (i.e., ‘and if the digital content is not authorized for use by the LCS,
accepting the digital content at a predetermined quality level, said predetermined quality level
having been set for legacy content’), at the time of the invention; serving to patently distinguish
the invention from said prior art[.]”). U.S. Patent App. No. 10/049,101 (’246 patent), July 8,
2008 Examiner’s Reasons for Allowance, ¶ 5 (Ex. 3). The ’561 patent is a continuation of the
’246 patent, and the ’295 patent is a continuation of the ’561 patent.
6
  Exhibit H is documentation describing Microsoft’s PlayReady, a “content delivery and
management solution for entertainment products.” (D.I. 1, Ex. H, at 3). In its Complaint, Blue
Spike states: “[t]he PlayReady license server authenticates the client and issues a license back to
the client,” without stating how or why this statement supports Blue Spike’s direct infringement
allegation. See, e.g., D.I. 1, ¶ 4. Exhibits J and K are also cited with no explanation. Exhibit J is
a screenshot to a Quora search for “Which kind of DRM do Netflix, Comcast, [sic] Hulu+ use?”
and Exhibit K is a screenshot of Widevine DRM’s webpage, which is a different DRM service
than PlayReady and is not mentioned in the Complaint.


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       In addition, to the extent Blue Spike argues that it alleges that Roku directs or controls its

third-party content providers, such allegations fail because they are wholly conclusory and

unsupported. The following is representative of Blue Spike’s allegations regarding direction or

control for each count of alleged infringement:

       Defendant has been and now is directly infringing by, among other things,
       practicing all the steps of the ’246 Patent and/or directing, controlling, and
       obtaining benefits from its subsidiaries, partners, distributors, and retailers
       practicing all the steps of the ’246 Patent. Specifically, Defendant imports the
       Accused Products into the United States; offers for sale and sells the Accused
       Products via its own online store (see Exhibits A & B), has partnered with
       numerous resellers to offer for sale and sell the Accused Products in the United
       States (see, e.g., Exhibits C & D), generates revenue from sales of the Accused
       Products to U.S. customers via such outlets (see id.), and has attended trade shows
       in the United States where it has demonstrated the Accused Products (see, e.g.,
       Exhibit G).
D.I, 1, ¶ 23 (’246 patent), see also id., ¶¶ 32 (’561 patent), 41 (’295 patent). These paragraphs

and cited exhibits lack any facts to support a plausible allegation that Roku directs or controls

another party to infringe any limitation of the Secure Server patents.

Accordingly, the Complaint fails to sufficiently state a claim for direct patent infringement as to

the Secure Server patents, and these claims should be dismissed.

              2. Blue Spike Fails to Allege that the Accused Products Perform Each Limitation
                 of Each of the Asserted Claims of the Steganographic Cipher Patents (Counts 4-
                 5)

       Similar to its allegations for the Secure Server patents, Blue Spike has not plead facts

sufficient to state a claim for direct infringement for the Steganographic Cipher patents, as the

Complaint does not allege, nor does Roku perform, each of the steps of the asserted claims. In

particular, as shown in the tables below, there are several claim limitations for which Blue Spike

provided no allegations.

       In Count 4, Blue Spike alleges the Accused Products infringe claim 14 of the ’116 patent

by providing only the following conclusory and incomplete allegation:


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       Defendant’s Accused Products allow playback of Netflix, Hulu+, HBO Go,
       Pandora, Spotify, and other streaming services. See Exhibit A. On information
       and belief, Netflix and Hulu+ use a digital rights management system called
       PlayReady—among others— which is a method for authenticating the
       transmission of information between two entities by using unique device IDs and
       cryptographic keys (conducting a trusted transactions [sic] between at least two
       parties [by using a] means for uniquely identifying information selected from
       the group consisting of a unique identification of one of the parties [and] a
       steganographic cipher for generating said unique identification information …
       governed by … a predetermined key). See Exhibit H at p. 4 (“PlayReady secures
       content by encrypting data files. … In order to decrypt these data files, a digital
       key is required.”); Exhibit I (“We evaluated available and applicable ciphers and
       decided to primarily use the Advanced Encryption Standard (AES) cipher … The
       AES-GCM cipher algorithm encrypts and authenticates the message
       simultaneously — as opposed to AES-CBC, which requires an additional pass over
       the data to generate keyed-hash message authentication code (HMAC)”); see also
       Exhibits J & K

D.I. 1, ¶51 (emphasis in original). As the following table illustrates, the Complaint contains no

allegations of infringement as to several limitations of claim 14:

Claim 14 of the ‘116 Patent                        Blue Spike’s Allegations
A device for conducting a trusted transaction      “conducting a trusted transactions [sic]
between at least two parties who have agreed       between at least two parties”
to transact, comprising:
means for uniquely identifying information         “[by using a] means for uniquely identifying
selected from the group consisting of a unique     information selected from the group consisting
identification of one of the parties, a unique     of a unique identification of one of the parties”
identification of the transaction, a unique
identification of value added information to be
transacted, a unique identification of a value
adding component;
a steganographic cipher for generating said        “[and] a steganographic cipher for generating
unique identification information, wherein the     said unique identification information …
steganographic cipher is governed by at least      governed by … a predetermined key”
the following elements: a predetermined key, a
predetermined message, and a predetermined
carrier signal; and
a means for verifying an agreement to transact     No allegations that Accused Products
between the parties.                               perform this limitation.

       Similarly, in Count 5, Blue Spike alleges the Accused Products infringe claim 36 of the

’011 patent by providing only the following conclusory and incomplete allegation:




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       Defendant’s Accused Products allow playback of Netflix, Hulu+, HBO Go,
       Pandora, Spotify, and other streaming services. See Exhibit A. On information
       and belief, Netflix and Hulu+ use a digital rights management system called
       PlayReady—among others— which is a method for authenticating the
       transmission of information between two entities by using unique device IDs and
       cryptographic keys (conducting trusted transactions between at least two parties
       [by using] a device identification code stored in the device … a
       steganographically      ciphered    software    application;    wherein     said
       steganographically ciphered software application has been subject to a
       steganographic cipher for serialization; wherein said device is configured to
       steganographically cipher both valueadded information and at least one value-
       added component associated with said value-added information; wherein said
       steganographic cipher receives said output data, steganographically ciphers said
       output data using a key, to define steganographically ciphered output data, and
       transmits said steganographically ciphered output data to said at least one
       input/output connection). See Exhibit H at p. 4 (“PlayReady secures content by
       encrypting data files. … In order to decrypt these data files, a digital key is
       required.”); Exhibit I (“We evaluated available and applicable ciphers and
       decided to primarily use the Advanced Encryption Standard (AES) cipher … The
       AES-GCM cipher algorithm encrypts and authenticates the message
       simultaneously — as opposed to AESCBC, which requires an additional pass over
       the data to generate keyed-hash message authentication code (HMAC)”); see also
       Exhibits J & K.

D.I. 1, ¶ 60, (emphasis in original). As the following table illustrates, the Complaint contains no

allegations of infringement as to several limitations of claim 36:

Claims                                             Allegations
A device for conducting trusted transactions       “conducting trusted transactions between at
between at least two parties, comprising:          least two parties [by using]”
a steganographic cipher;                           No allegations that Accused Products
                                                   perform this limitation.
a controller for receiving input data or           No allegations that Accused Products
outputting output data; and                        perform this limitation.
at least one input/output connection,              No allegations that Accused Products
                                                   perform this limitation.
wherein the device has a device identification     “a device identification code stored in the
code stored in the device;                         device”
a steganographically ciphered software             “a steganographically ciphered software
application;                                       application”
wherein said steganographically ciphered           “wherein said steganographically ciphered
software application has been subject to a         software application has been subject to a
steganographic cipher for serialization;           steganographic cipher for serialization”
wherein said device is configured to               “wherein said device is configured to
steganographically cipher both value-added         steganographically cipher both value added


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Claims                                            Allegations
information and at least one value-added          information and at least one value-added
component associated with said value-added        component associated with said value added
information;                                      information”
wherein said steganographic cipher receives       No allegations that Accused Products
said output data, steganographically ciphers      perform this limitation.
said output data using a key, to define
steganographically ciphered output data, and
transmits said steganographically ciphered
output data to said at least one input/output
connection.

       As with the Secure Server patents, for the limitations of the Steganographic Cipher

patents that Blue Spike does address, the Complaint simply parrots the elements of the asserted

claims and is wholly conclusory. Importantly, the Complaint contains no factual support or

inference suggesting that Roku’s devices contain a steganographic cipher. The only additional

alleged factual support cited in the Complaint for the Steganographic Cipher patents beyond

what was cited for the Secure Server patents is Exhibit I—which only discusses use of an AES

cipher by Netflix, not a steganographic cipher. Blue Spike provides no allegation as to why or

how it could plausibly allege an AES cipher is a steganographic cipher.

       The distinction between a steganographic cipher and other ciphers is important because

the applicant defined a “steganographic cipher” as distinguishable from cryptography and

watermarking during prosecution of the ’011 patent:

       A watermark is, by definition, information embedded in a signal that is difficult to
       remove. A watermark does not imply steganographic ciphering. All it implies is
       information embedded in the signal that is difficult to remove.
       In contrast, by definition, a steganographic cipher uses a key and a message to
       hide data in a signal in a manner such that the existence of the message cannot be
       detected without the key. (“cannot”, in the sense that it would [sic]
       computationally very intensive to detect the existence of the message without the
       key.) Note the reference in our specification, published paragraph [0117] to US
       patent 5,613,004 (stating “The computational complexity added by use of a
       steganographic cipher is discussed in the U.S. Pat. No. 5,613,004, the disclosure
       of which is incorporated by reference in its entirety ...”). US patent 5,613,004
       notes in the paragraph preceding its Summary of Invention section that “The


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       stega-cipher is so named because it uses the steganographic technique of hiding a
       message in multimedia content, in combination with multiple keys, a concept
       originating in cryptography. However, instead of using the keys to encrypt the
       content, the stega-cipher uses these keys to locate the hidden message within the
       content.”
       Nothing in [U.S. 6,674,858 (“Kimura”)] indicates that the data received by
       Kimura’s STB contains a message the existence of which cannot be detected
       without the key.
U.S. Patent Application No. 11/512,701 (’011 patent), Feb. 18, 2011 Response to Office Action

at 2 (Ex. 4). Because none of the exhibits discuss steganographic ciphers and the Complaint

contains no facts suggesting that Roku’s accused devices contain a steganographic cipher, the

Complaint contains no more than mere conclusory, unsupported allegations that Roku’s devices

contain a steganographic cipher.

       Accordingly, the Complaint fails to sufficiently state a claim for direct patent

infringement as to the asserted claims of the Steganographic Cipher patents, and the direct

infringement claims for these patents should be dismissed.

       C.      Blue Spike Fails to Plead Facts that Plausibly Show that the Accused Roku
               Products Indirectly Infringe Any of the Asserted Patents

       As an initial matter, because Blue Spike’s allegations of induced and contributory

infringement require that there be plausible allegations of direct infringement (and there are not),

the allegations as to those claims are necessarily insufficient as well. See Modern Telecom, 2017

WL 6524526, at *4.        However, even assuming that Blue Spike’s allegations of direct

infringement are sufficient, Blue Spike’s allegations for induced and contributory infringement

do not meet the pleading requirements set forth in Twombly and Iqbal.

       To sufficiently state a claim of induced infringement, the Complaint must contain facts

sufficient to allow an inference that Roku “specifically intended [its] customers to infringe …

and knew that the customer’s acts constituted infringement.” Aeritas, LLC v. Alaska Air Grp.,

Inc., 893 F. Supp. 2d 680, 683 (D. Del. 2012) (citing In re Bill of Lading, 681 F.3d 1323, 1339)


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(Fed. Cir. 2012)); Telecomm Innovations, LLC v. Ricoh Co., Ltd., 966 F. Supp. 2d 390, 394 (D.

Del. 2013).   Additionally, Plaintiff’s complaint must extend beyond the merely formulaic

“makes, uses, offers to sell, or sells” language provided in 35 U.S.C. § 271 to sufficiently plead

induced infringement. Id. at 394 (citing E.I. Du Pont de Nemours v. Heraeus Holding GmbH,

C.A. No. 11-773, 2012 WL 4511258, at *6 (D. Del. Sept. 28, 2012) (citing In re Bill of Lading,

681 F.3d at 1339, 1346)).

       Blue Spike’s allegations of induced and contributory infringement are insufficient

because they only offer formulaic recitations paraphrasing 35 U.S.C. § 271 without meaningful

or sufficient factual support and conclusory allegations of Roku’s knowledge. See, e.g., D.I. 1,

¶¶ 5, 22, 25, 26, 28 (Count 1). The only purported facts in the Complaint allegedly relating to

induced and contributory infringement are two webpage printouts for the sale of Roku’s

products—an Amazon and Walmart search for “Roku.” (D.I. 1, Exs. C & D). Nothing in these

exhibits supports Blue Spike’s conclusory allegations of induced and contributory infringement.

       Accordingly, the Complaint fails to sufficiently state a claim for induced or contributory

infringement and these claims should be dismissed.

       D.      Blue Spike Fails to Plead Facts that Plausibly Show that the Accused
               Products Willfully Infringe Any of the Asserted Patents

       Because Blue Spike’s allegations of willful infringement require that there be plausible

allegations of direct infringement (and there are not), the allegations of willful infringement are

necessarily insufficient as well. See Modern Telecom, 2017 WL 6524526, at *4. In addition,

Blue Spike’s allegations of willful infringement are further insufficient because the Complaint

does not allege facts to plausibly infer that this is an “egregious case[] of misconduct beyond

typical [patent] infringement.” Halo Elecs., Inc. v. Pulse Elecs., Inc., 136 S. Ct. 1923, 1935

(2016). The Complaint contains no allegations of wanton, malicious, or bad-faith conduct on



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behalf of Roku (nor could it). See id., 1932. Indeed, the mere allegation that Roku continues to

make, use, or sell products after the alleged “notice” does not plausibly set forth facts showing

how Roku’s actions constitute an “egregious” case of willful infringement “beyond typical

infringement.” Princeton Digital Image Corp. v. Ubisoft Entm’t SA, C.A. No. 13-335-LPS-CJB,

2016 WL 6594076, at *11 (D. Del. Nov. 4, 2016) (dismissing willful infringement allegations

because the complaint “does not sufficiently articulate how [Defendant’s] actions during a short,

three-month period of time [following assuming notice of the patent] amount to an ‘egregious’

case of infringement of the patent.”).

       Accordingly, the Complaint has failed to sufficiently state a claim for willful patent

infringement, and the willful infringement claims should be dismissed.

V.     CONCLUSION

       Roku respectfully requests that the Court grant Roku’s motion for judgment on the

pleadings and dismiss Plaintiff’s claims of direct infringement, induced infringement,

contributory infringement, and willful infringement.

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January 24, 2018


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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 24, 2018, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

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